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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     HUAWEI TECHNOLOGIES, CO, LTD, ET                   Case No. 16-cv-02787-WHO
                                         AL.,
                                   8                    Plaintiffs,                         ORDER REGARDING TRIAL DATE
                                   9             v.
                                  10
                                         SAMSUNG ELECTRONICS CO, LTD., et
                                  11     al.,
                                                        Defendants.
                                  12
Northern District of California
 United States District Court




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                                  14          I anticipate that a month-long trial with priority on my calendar will commence on

                                  15   November 13, 2018, making it impossible to try this case in 2018. Therefore, I will re-set trial to

                                  16   January 7, 2019 at 8:30 a.m. for jury selection. The Pre-Trial Conference is re-set for December 3,

                                  17   2018, with dates associated with the Pre-Trial Conference re-set accordingly. If the new trial date

                                  18   poses an irreconciliable conflict for any party, please request a telephonic conference at a mutually

                                  19   convenient time or an in person appearance on any of my civil or criminal calendars prior to

                                  20   October 4, 2018. Be forewarned that my trial calendar is heavy through the summer of 2019.

                                  21          IT IS SO ORDERED.

                                  22   Dated: September 18, 2018

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                                                                                                    William H. Orrick
                                  25                                                                United States District Judge
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